  Fill in this information to identify your case:


  United States Bankruptcy Court for the:

  DISTRICTOF ARIZONA,PHOENIXDIVISION                                          -14699
  Case number (ifknown)                                                        Chapter you are filing under:


                             ^"VfWiT^                                             Chapter 7
                                                                               D Chapter 11
                                                                               D Chapter 12
                                                                               D Chapter 13                                     D Check ifthis an amended
                                                                                                                                     filing




 Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                    12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a joint
case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car, " the answer
would be yes if eitherdebtorownsa car. When information is neededaboutthe spouses separately, theform uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurateas possible. Iftwo married people arefiling together, both areequally responsiblefor supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


 Parti:     Identify Yourself

                                      About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

 1.   Your full name

      Write the name that is on       LATasha
      your government-issued          First name                                                     First name
      picture identification (for
      example, your driver's          N
      license or passport).           Middle name                                                    Middle name
      Bring your picture
      identification to your meetin
                                      Ma
      with the trustee.               Last name and Suffix (Sr., Jr., II, I                          Last name and Suffix (Sr., Jr., II, III)




 2,   All other names you have
      used in the last 8 years
      Include your married or
      maiden names.



 3.   Only the last 4 digits of
      your Social Security
      number or federal
                                      xxx-xx-3231
      Individual Taxpayer
      Identification number
      (ITIN)




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Debtor 1     Ma . LATasha N                                                                                   Case number (if known)




                                 About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have          I have not used any business name or EINs.                       D I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                                    Business name(s)
     doing business as names

                                 EINs                                                                EINs




5.   Whereyou live                                                                                   If Debtor 2 lives at a different address:

                                 11044W LaneAve
                                 Glendale, AZ 85307-1626
                                 Number, Street, City, State & ZIPCode                               Number, Street, City, State & ZIP Code
                                 IUIari/*/t   fl

                                 County                                                              County

                                 If your mailing address is differentfrom the one                    If Debtor2's mailing address is differentfrom yours, fill it in
                                 above, fill it in here. Note that the court will send any           here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                             address.




                                 Number, P. O. Box, Street, City, State & ZIP Code                   Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                       Check one:
     bankruptcy                         Over the last 180 days before filing this petition,
                                        have lived in this district longer than in any other
                                                                                                     D        Overthelast 180daysbeforefilingthispetition,I have
                                        district.                                                             lived in this district longer than in any other district.

                                        I have another reason.                                                I have another reason.
                                        Explain.(See28 U.S.C. § 1408.)                                        Explain. (See 28 U. S.C. § 1408.)




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Debtor 1     Ma , LATasha N                                                                                  Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Checkone. (For a brief descriptionof each, see Notkse Required by 11 U. S. C. § 342(b) for IndividualsFilingfor Bankruptcy (Form
     Bankruptcy Code you are 2010)). Also, go to the top of page 1 and checkthe appropriate box.
     choosingto file under
                                     Chapter 7

                                  D Chapter 11
                                  D Chapter 12
                                  D Chapter 13


8.   How you will pay the fee D           I will pay the entire fee when t file my petition. Pleasecheckwiththe clerk's office in your local court for more details
                                          about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money order.
                                          If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                          pre-printed address.
                                          I need to pay the fee in installments. If you choosethis option, sign and attach the Application for Individualsto Pay The
                                          Filing Fee in Installments (Official Form 103A).
                                          I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                          not required to, waiveyour fee, and maydo so only if your income is less than 150% of the official poverty linethat applies to
                                          yourfamily sizeand you are unableto paythe fee in installments). If you choosethis option, you must fill out the Application
                                          to Have the Chapter7 Filing Fee Waived(Official Form 103B) and file it with your petition.


9.   Have you filed for ^
     bankruptcy within the last
     8 years?                     D Yes.
                                               District                                   When                             Case number
                                               District                                   When                             Case number

                                              District                                    When                             Case number



10. Are any bankruptcy cases        ^g
     pending or beingfiled by
     a spouse who is not filing D Yes.
     this case with you, or by
     a business partner, or by
     an affiliate?
                                               Debtor                                                                     Relationshipto you
                                              District                                    When                            Case number, if known

                                              Debtor                                                                      Relationshipto you
                                              District                                    When                            Case number, if known



11. Do you rent your                No.         Go to line 12.
     residence?
                                  D Yes.        Has your landlord obtained an evictionjudgment againstyou?
                                                a         No. Go to line 12.
                                                d         Yes. Fill outlnitial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of this
                                                          bankruptcy petition.




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Debtor 1     Ma LATasha N                                                                                      Case number(ifknown)


Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time           No.       Go to Part 4.
     business?
                                     D Yes.       Name and location of business

     A sole proprietorship is a
     business you operate as an                   Nameof business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
     If you have more than one                    Number, Street, City, State & ZIPCode
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                  D      Health Care Business (as defined in 11 U. S. C. § 101(27A))
                                                  D       SingleAsset Real Estate (as defined in 11 U. S. C. § 101(518))
                                                  D       Stockbroker (as defined in 11 U. S. C. § 101(53A))
                                                  D       Commodity Broker (as defined in 11 U. S. C. § 101(6))
                                                  D       Noneof the above

13. Are you filing under             Ifyou are filing under Chapter 11, the court must know whether you are a small business debtor so that if can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
     Bankruptcy Code and are         operations, cash-flowstatement, andfederal incometaxreturn or if anyofthesedocuments do notexist, followtheprocedurein 11
     you a smaff business            U.S.C. 1116(1)(B).
     debtor?
                                        ^]Q       I am not filing under Chapter 11.
     For a definition of sma//
     business debtor, see 11
     U. S. C. §101(51D).             D No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                     D Yes.       I amfiling underChapter 11 and I am a small businessdebtoraccordingto the definitionin the Bankruptcy Code.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any              ^g
     property that poses or is
     alleged to pose a threat of D Yes.
     imminent and identifiable                 What is the hazard?
     hazard to public health or
     safety? Or do you own
     any property that needs                   If immediate attention is
     immediate attention?                      needed, whyis it needed?

    Forexample, do you own
    perishablegoods, or
     livestock that must be fed,               Whereis the property"?
    or a buildingthat needs
    urgent repairs?
                                                                             Number, Street, City, State & Zip Code




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Debtor 1     Ma LATasha N                                                                                  Case number(ifknown)

Part 5:    ExplainYour Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                                  About Debtor2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                              You must check one:
     you have received a                  I received a briefingfrom an approved credit                D    I received a briefingfrom an approved credit
     briefing about credit                counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     counseling.                          filed this bankruptcy petition, and I received a                 this bankruptcy petition, and I received a certificate of
                                          certificate of completion.                                       completion.
     The law requires that you
     receive a briefing about             Attach a copy of the certificateand the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you         if any, that you developed withthe agency.                      that you developed withthe agency.
     file for bankmptcy. You
     must truthfully checkone of     Ct   I received a briefingfrom an approved credit                d   I received a briefing from an approved credit
     the following choices. If you        counseling agency within the 180 days before I                  counseling agency within the 180 days before I filed
     cannot do so, you are not            filed this bankruptcy petition, but I do not have a             this bankruptcy petition, but I do not have a certificate
     eligibleto file.                     certificate of completion.                                      of completion.

     If you file anyway, the court        Within 14 days afteryou file this bankruptcypetition,           Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you           you MUST file a copyof the certificate and payment              MUST file a copy erf the certificate and payment plan, if any.
     will lose whateverfilingfee          plan, if any.
     you paid, and your creditors
     can begin collection            []   I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                    services from an approved agency, but was                       from an approved agency, but was unable to obtain
                                          unable to obtain those services during the 7                    those services during the 7 days after I made my
                                          days after I made my request, and exigent                       request, and exigent circumstances merit a 30-day
                                          circumstances merit a 30-day temporary waiver                   temporary waiverof the requirement.
                                          of the requirement.
                                                                                                          To askfor a 30-daytemporary waiverof the requirement,
                                          To askfor a 30-daytemporarywaiverof the                         attach a separate sheet explaining what efforts you made to
                                          requirement, attach a separatesheetexplainingwhat               obtainthe briefing, whyyou were unableto obtain it before
                                          efforts you madeto obtain the briefing, whyyou were             you filed for bankruptcy, and what exigent circumstances
                                          unableto obtain it beforeyou filed for bankruptcy, and          required you to file this case.
                                          whatexigentcircumstances required you to file this
                                          case.                                                           Your case maybedismissed if the court is dissatisfiedwith
                                                                                                          your reasons for not receiving a briefing before you filed for
                                          Your case may be dismissed if the court is                      bankruptcy.
                                          dissatisfiedwith your reasonsfor not receiving a
                                          briefing beforeyou filed for bankruptcy.                        If the court is satisfiedwith your reasons, you must still
                                          If the court is satisfiedwithyour reasons, you must             receive a briefingwithin 30 days after you file. You must file
                                          still receive a briefing within 30 days after you file.         a certificate from the approved agency, along with a copy of
                                          You must file a certificatefrom the approved agency,            the payment plan you developed, if any. If you do not do so,
                                          along with a copyof the payment plan you developed,             your case may be dismissed.
                                          if any. If you do not do so, your case may be
                                          dismissed.                                                      Any extension of the 30-daydeadlineis granted onlyfor
                                                                                                          cause and is limited to a maximum of 15 days.
                                          Any extension of the 30-day deadline is granted only
                                          for cause and is limited to a maximum of 15 days.
                                     []   I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                          credit counseling because of:                                   counseling becauseof:

                                          D       Incapacity.                                             D    Incapacity.
                                                  I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiencythat
                                                  that makes me incapable of realizingor makinc                makes me incapableof realizing or making rational
                                                  rational decisions about finances.                           decisions about finances.

                                          D       Disability.                                             D Disability.
                                                  My physical disabilitycauses me to be unable                 My physical disabilitycauses me to be unableto
                                                  to participate in a briefing in person, by phone,            participatein a briefing in person, by phone, or through
                                                  or through the internet, even after I reasonably             the internet, even after I reasonablytried to do so.
                                                  tried to do so.


                                          D       Active duty.                                            D    Active duty.
                                                  I am currently on active military duty in a                  I am currently on active military duty in a military
                                                  military combatzone.                                         combat zone.
                                          If you believe you are not required to receive a briefing       If you believe you are not required to receive a briefing about
                                          about credit counseling, you must file a motion for             credit counseling, you must file a motionfor waiverof credit
                                          waivercredit counselingwith the court.                          counseling with the court.




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Debtor 1     Ma     ATacha N                                                                                 Case number{ifknown)

Part 6:     AnswerThese Questions for Reporting Purposes

16. What kind of debts do          16a.       Are your debts primarily consumer debts? Consumerofebfsare defined in 11 U.S.C. g 101(8) as "incurred byan
    you have?                                 individual primarilyfor a personal, family, or household purpose."
                                              D No. Goto line 16b.
                                                 Yes. Go to line 17.
                                   16b.       Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                              for a business or investment or through the operation of the business or investment.
                                              D No. Go to line 16c.
                                              D Yes. Goto line 17.
                                   16c.       Statethe type of debts you owethat are not consumerdebts or business debts



17. Are you filing under           d NO.      I am not filing under Chapter 7. Go to line 18.
    Chapter??

     Do you estimate that after       Ygg I amfilingunderChapter7. Doyouestimatethatafteranyexemptpropertyis excludedandadministrativeexpensesare
     any exempt property is                   paid that funds will be availableto distributeto unsecured creditors?
     excluded and
     administrative expenses                     No
     are paid that funds will be
     availablefor distribution                D Yes
     to unsecured creditors?

18. How many Creditors do             1-49                                          01,000-5,000                                D 25,001-50,000
     you estimate that you                                                          D 5001-10,000                               D 50, 001-100, 000
     owe?                          D 50-99
                                   D 100-199                                        D 10,001-25,000                             D Morethan100,000
                                   D 200-999

19. How much do you                a $0- $50,000                                   a $1,000,001 -$10 million                    D $500, 000, 001 - $1 billion
    estimate your assets to        D $50,001 -$100,000                              D $10, 000, 001 -$50 million                D $1,000,000,001 - $10billion
     be worth?
                                     $100, 001-$500, 000                            D $50,000,001 - $100million                 D $10,000,000,001 -$50 billion
                                   D $500, 001 -$1 million                          D $100, 000, 001 - $500 million             D Morethan $50 billion

20. How much do you                D $o - $50, 000                                  D $1, 000, 001 -$10 million                 D $500,000,001 - $1 billion
     estimate your liabilities to Q $50,001-$100, 000                               D $10,000,001-$50 million                   D $1,000,000,001 -$10 billion
     be?
                                      $100,001-$500,000                             D $50,000,001-$100million                   D $10,000,000,001 - $50 billion
                                   D $500,001 - $1 million                          D $100,000,001 - $500million                D More than $50 billion

Part 7:    Sign Below

For you                            I haveexaminedthis petition, and I declare underpenaltyof perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, underChapter 7, 11, 12, or 13 oftitle 11, United
                                   States Code. I understand the reliefavailableundereach chapter, and I chooseto proceed under Chapter7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   haveobtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordancewith the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining moneyor property by fraud in connectionwith a bankruptcy
                                                It m jineg }ip to S250,OQQror imprisonmentfor up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                                     ay          (^                                  Signature of Debtor 2
                                   Signatureof Debtor 1


                                   Email Address of Debtor 1                                         Email Address of Debtor 2


                                   Executedon      December 3, 2018                                  Executed on
                                                   MM/DD/rr/Y                                                         MM/DD/YYYY




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For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter?, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I alsocertifythat I havedeliveredtothedebtor(s)the noticerequired by 11 U.S.C. § 342(b) and, in a casein
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                                                                                      Date
                                Signatureof Attorneyfor Debtor                                                     MM/DD/YYYY


                                Printed name



                                Firm name




                                Number, Street, City, State& ZIPCode

                                Contact phone                                                   Email address


                                Bar number & State




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For you if you are filing this    The law allows you, as an individual, to represent yourself in bankmptcy court, but you
bankruptcywithout an              should understand that many people find it extremelydifficult to represent
attorney                          themselves successfully. Because bankruptcy has long-term financial and legal
                                  consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not          To be successful, you must correctlyfile and handleyour bankruptcy case. The rules arevery
need to file this page.          technical, and a mistakeor inactionmayaffectyour rights. Forexample, your case may be
                                 dismissed becauseyou did notfile a requireddocument, paya fee on time, attend a meeting or
                                  hearing, or cooperate with the court, case trustee, U. S. trustee, bankruptcy administrator, or audit
                                 firm if yourcase is selected for audit. Ifthat happens, you could lose your rightto file another
                                 case, or you may lose protections, including the benefit of the automatic stay.
                                 You must list all your property and debts in the schedules that you are required to file with the
                                 court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                 in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                 propertyor properly claim it as exempt, you may not be ableto keepthe property. Thejudgecan
                                 also denyyou a dischargeofall yourdebts if you do somethingdishonestin your bankruptcy
                                 case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                 cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                 Bankruptcy fraud is a serious crime; you could be fined and imprisoned.
                                 Ifyou decideto filewithoutan attorney, the court expects you to followthe rules as if you had
                                 hired an attorney. The court will not treat you differently because you are filing for youreelf. To be
                                 successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                 Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                 be familiar with any state exemption laws that apply.

                                 Are you awarethatfilingfor bankruptcyis a serious actionwith long-term financialand legal
                                 consequences?
                                 a No
                                 'j^ Yes
                                 Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                 inaccurateor incomplete, you could befined or imprisoned?
                                 a No
                                    -'Yes

                                 Dj^you payoragreeto paysomeonewhois notanattorneyto helpyoufill out yourbankruptcyforms?
                                 -^ No
                                 Q Yes. NameofPerson
                                            Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).


                                 By signinghere, I acknowledgethat I understandthe risks involved in filing withoutan attorney.
                                 have read and understoodthis notice, and I am awarethatfiling a bankruptcycasewithoutan
                                 attorney may cause me to lose my rights or property if I do not properly handle the case.



                                  Signature of Debtor 1                                          Signature of Debtor 2

                                 Date            [Z^ ^t)]D                                       Date
                                                    /YYYY
                                                 MM DD                                                            MM/ DD/YYYY

                                 Contact phone                   Z-DZ2.                          Contact phone

                                 Cell phone      Lc-Z ^Z-tW                                      Cell phone

                                 Email address             'l^^&Yl h D^\                         Email address




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